            Case 6:20-cv-00814-ADA Document 15 Filed 10/30/20 Page 1 of 5

                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION
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vs.                                                      Case No.: 6:20-cv-00814-ADA
JUNIPER NETWORKS, INC.


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Rebecca M. Lecaroz                                                , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent plaintiff WSOU Investment, LLC                            in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               Brown Rudnick LLP                                                 with offices at:

               Mailing address: One Financial Center

               City, State, Zip Code: Boston, MA 02111

               Telephone: 617-856-8200                            Facsimile: 617-856-8201


       2.      Since    11/30/2006                                  , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of Commonwealth of MA .

               Applicant's bar license number is 666860                                                       .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                             Admission date:
               US District Court for Massachusetts                3/22/2007

               US Circuit Court of Appeals -Fed. Cir.             4/6/2010

               Appeals Court Fourth Circuit                       2/01/2017
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     Case 6:20-cv-00814-ADA Document 15 Filed 10/30/20 Page 2 of 5

4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):

       N/A




5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number: 6:20-cv-00725-ADA            on the 14     day of August                 , 2020 .

      Number: 6:20-cv-00726-ADA            on the 14     day of August                 , 2020 .

      Number: 6:20-cv-00727-ADA            on the 14     day of August                 , 2020 .
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6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
       N/A




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):

       N/A




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
               Case 6:20-cv-00814-ADA Document 15 Filed 10/30/20 Page 3 of 5

          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Raymond W. Mort, III

                 Mailing address: 100 Congress Ave., Suite 2000

                 City, State, Zip Code: Austin, Texas 78701

                 Telephone: 512-865-7950


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Rebecca M. Lecaroz                        to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Rebecca M. Lecaroz
                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 30 day of October                     , 2020 .

                                                        Rebecca M. Lecaroz
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
         Case 6:20-cv-00814-ADA Document 15 Filed 10/30/20 Page 4 of 5




                                      ATTACHMENT A

5. I have previously applied to Appear Pro Hac Vice in this district court in Cases[s]:


Number: 6:20-cv-00728-ADA on the 14 day of August, 2020

Number: 6:20-cv-00729-ADA on the 14 day of August, 2020

Number: 6:20-cv-00730-ADA on the 14 day of August, 2020
              Case 6:20-cv-00814-ADA Document 15 Filed 10/30/20 Page 5 of 5

                                    UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF TEXAS
                                           WACO DIVISION

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JUNIPER NETWORKS, INC.



                                                             ORDER

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plaintiff WSOU Investment, LLC                                      DQGWKH&RXUWKDYLQJUHYLHZHGWKHPRWLRQHQWHUV

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Rebecca M. Lecaroz                                   PD\DSSHDURQEHKDOIRI plaintiff WSOU Investment, LLC

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                                    Rebecca M. Lecaroz
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                                                                      UNITED STATES DISTRICT JUDGE
